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   MANAGEMENT, INC.
 7
 8                               UNITED STATES DISTRICT COURT
 9            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10 KIMBERLY SMITH,                                     Case No.
11                      Plaintiff,                     NOTICE OF REMOVAL OF
                                                       ACTION UNDER 28 U.S.C. § 1441(a)
12            v.
                                                       State Court Complaint filed 10/28/14
13 MIDLAND CREDIT
   MANAGEMENT, INC.,
14
           Defendant.
15
16            TO THE CLERK OF THE COURT:
17            PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1441(a) and 1331,
18 Defendant Midland Credit Management, Inc. (“Midland”) hereby removes this
19 action from the Superior Court of the State of California for the County of Los
20 Angeles, Case No. 14K14445 (the “State Case”) to the United States District Court
21 for the Western District of California. The grounds for this removal are:
22            FACTUAL SUMMARY
23            1.        On October 28, 2014, plaintiff Kimberly Smith commenced the State
24 Case alleging violations of the federal Fair Debt Collection Practices Act (15 U.S.C.
25 § 1692 et seq.) and the Rosenthal Fair Debt Collection Practices Act (Cal. Civ. Code
26 § 1788 et seq.).
27            2.        Midland was served with the summons and complaint on December 4,
28 2014.
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 1            3.        This notice is therefore timely pursuant to 28 U.S.C. section 1446(b)
 2 because it is being filed within thirty days after service of the complaint.
 3            JURISDICTION
 4            4.        Removal is proper pursuant to 28 U.S.C. section 1441(a), which
 5 entitles a defendant to remove “any civil action brought in a State court of which the
 6 district courts of the United States have original jurisdiction,” and 28 U.S.C. section
 7 1331, which gives district courts “original jurisdiction of all civil actions arising
 8 under the Constitution, laws, or treaties of the United States.” The district court has
 9 supplemental jurisdiction over the alleged state law claim because it is so related to
10 the claim over which the district court has original jurisdiction that it “form[s] part
11 of the same case or controversy.” 28 U.S.C. § 1367(a).
12            5.        Pursuant to 28 U.S.C. section 1446(a), Midland attaches as Exhibits 1
13 and 2 copies of all process, pleadings, and orders in the State Court action.
14
15 DATED: January 2, 2015                       SOLOMON WARD SEIDENWURM &
                                                SMITH, LLP
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17
18                                              By: s/Peter J. Caltagirone
19                                                  THOMAS F. LANDER
                                                    PETER J. CALTAGIRONE
20
                                                    Attorneys for Defendant MIDLAND
21                                                  CREDIT MANAGEMENT, INC.
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 1                                            INDEX TO EXHIBITS
 2                                                                                                              Pages
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 4 Exhibit 1:           State Court Complaint ................................................................... 1-12
 5 Exhibit 2:           State Court Answer ....................................................................... 13-19
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